          USDC IN/ND case 2:21-cv-00179-PPS-JPK document 6 filed 05/28/21 page 1 of 1
AO 120 (Rev. 08/10)

                             Mail Stop 8                                                    REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                          FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                           ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                TRADEMARK

                  In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court                     Northern District of Indiana                             on the following
       G
       ✔ Trademarks or        G Patents.    ( G the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                      U.S. DISTRICT COURT
    2:21-cv-00179-PPS-J                    5/25/2021                                      Northern District of Indiana
PLAINTIFF                                                                 DEFENDANT
 Monster Energy Corporation                                                 R&R Medical d/b/a Bear Komplex



        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
         5/25/2021                                                                                                  ✔ Other Pleading
                                                       G Amendment            G Answer          G Cross Bill        G
        PATENT OR                      DATE OF PATENT
                                                                                     HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1                                                                    ***See Attached Complaint and Exhibits 1-14***

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                      (BY) DEPUTY CLERK                                            DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy


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